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                          UNITED STATES DISTRICT COURT
                                    DISTRICT OF KANSAS



RENATE ALDRIDGE, et. al.,                       )
                                                )
                      Plaintiffs,               )
                                                )
v.                                              )
                                                )               No. 09-2178-CM
                                                )
ALERITAS CAPITAL CORP.,                         )
                                                )
                      Defendant.                )
                                                )



                              JUDGMENT IN A CIVIL CASE

Decision by Court.    This action came to trial or hearing before the Court. The issues have been
                      tried or heard and a decision has been rendered.

                         IT IS ORDERED AND ADJUDGED pursuant to the Memorandum and
Order filed February 9, 2010, plaintiff to take nothing and the action is dismissed. Defendant to
recover of plaintiff its costs of action.



Date: February 10, 2009                         TIMOTHY M. O’BRIEN
                                                Clerk of the Court



                                                By: s/ Jennifer Walton
                                                    Jennifer Walton, Deputy Clerk
